AO 120 (Rev. 08/10)
TO:                     Mail Stop 8                                       REPORT ON  THE
                 Case 2:18-cv-03182-JTM-KWR             Document 4 Filed 03/27/18 Page 1 of 2
       Director of the U.S. Patent and Trademark Office          FILING OR DETERMINATION OF AN
                         P. O. Box 1450
                                                                 ACTION REGARDING A PATENT OR
                  Alexandria, VA 22313-1450
                                                                                                          TRADEMARK
                       In Compliance with 35 § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
            filed in the U.S. District Court      Eastern District of Louisiana       on the following
☐   Trademarks or                 ☐    Patents.             ( ☐     the patent action involves 35 U.S.C § 292.):

DOCKET NO.                        DATE FILED                       U.S. DISTRICT COURT
      18-3182, H(4)]                      03/26/2018]              Eastern District of Louisiana, 500 POYDRAS St., Rm C-151, New Orleans, LA 70130
PLAINTIFF                                                                   DEFENDANT
 World Wrestling Entertainment, Inc.                                          Unidentified Parties, et al



        PATENT OR                       DATE OF PATENT
                                                                                         HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
1          2,818,358                                                                     World Wrestling Entertainment
2          2,772,677                                                                     World Wrestling Entertainment
3          2,757,599                                                                    World Wrestling Entertainment.
4          2,754,499                                                                     World Wrestling Entertainment
5          2,870,426                                                                     World Wrestling Entertainment

                      In the above—entitled case, the following patent(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                        □   Amendment             □   Answer       □     Cross Bill     □   Other Pleading
        PATENT OR                       DATE OF PATENT
                                                                                         HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
1          2,902,203                                                                     World Wrestling Entertainment
2          2,917,910                                                                     World Wrestling Entertainment
3          3,585,170                                                                    World Wrestling Entertainment.
4          3,585,171                                                                     World Wrestling Entertainment
5          2,772,683                                                                                         WWE


                      In the above—entitled case, the following decision has been rendered or judgment issued:
DECISION/JUDGMENT




CLERK                                                       (BY) DEPUTY CLERK                                            DATE
                WILLIAM W. BLEVINS                                                                                               March 27, 2018


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
      Case 2:18-cv-03182-JTM-KWR Document 4 Filed 03/27/18 Page 2 of 2



                                   Attachment A

Holder of Patent or Trademark is WWE
Trademark No.
2,772,683; 3,056,074; 3,541,936; 4,451,697;
3,538,710; 3,489,357; 3,412,176; 3,412,177;
3,541,956; 3,621,017


Holder of Patent or Trademark is WWE Logos
Trademark No.

4,735,547; 4,731,795; 4,735,546; 4,625,255;
4,727,923; 4,675,657; 4,538,209; 4,689,839;
4,689,835; 4,538,210; 4,614,144; 4,645,471;
4,552,144; 2,757,596; 2,754,495; 2,846,450;
2,799,228; 2,751,436; 2,757,597; 2,765,751;
2,751,437; 4,756,090; 3,412,169; 3,412,170;
3,691,588; 4,220,594; 5,291,266

Holder of Patent or Trademark is Wrestlemania
Trademark No.

1,432,884; 1,863,534; 2,625,125; 2,881,508;
3,351,858; 3,351,859; 3,727,338; 3,727,339;
4,285,112; 4,780,778; 4,923,842; 5,094,698
